       Case 3:22-cr-00059-SMR-SBJ Document 9 Filed 07/01/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                  AT DAVENPORT

UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff,                               ) Case No. 3:22-mj-00081
                                               )
vs.                                            )
                                               ) APPEARANCE
                                               )
JOHN ROBERT MURIELLO,                          )
                                               )
      Defendant.                               )

       COMES NOW, Andrea D. Jaeger of Keegan, Tindal, & Jaeger, and enters her appearance

on behalf of Defendant John Robert Muriello.

                                                    Respectfully submitted,


                                                    /s/ Andrea D. Jaeger
                                                    Andrea D. Jaeger
                                                    Keegan, Tindal, and Jaeger
                                                    2322 E. Kimberly Rd., Ste. 140S
                                                    Davenport, IA 52807
                                                    Telephone: (319) 887-6900/563-355-6060
                                                    Facsimile: (319) 688-2754/563-355-6666
                                                    Email: andrea@keeganlegal.com

                                                    ATTORNEYS FOR DEFENDANT



                                     Certificate of Service

The undersigned certifies that the foregoing instrument was electronically filed on July 1, 2022,
with the Clerk of Court using the CM/ECF system, which will send notification of such filing to
all parties to the above cause and to each of the attorneys of record herein at their respective
addresses disclosed on the pleadings.

                                                    /s/ Andrea D. Jaeger
